
PER CURIAM:
This c laim w as s ubmitted f or de cisión b ased u pon t he allegations in t he Notice of Claim and respondent's Answer.
Claimant seeks payment in the amount of $95,127.58 for medical services rendered to an inmate in the custody of respondent in Ohio County. Respondent, in its Answer, admits the validity of the claim, but states that there were insufficient funds in its appropriation for the fiscal year in question from which to pay the claim.
While the Court believes that this is a claim which in equity and good conscience should be paid, the Court further believes that an award cannot be recommended based upon the decision in Airkem Sales and Service, et al. vs. Dept. of Mental Health, 8 Ct. Cl. 180 (1971).
Claim disallowed.
